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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

  __________________________________________
                                            )
  UNITED STATES OF AMERICA,                 )
  ex rel. JON H. OBERG,                     )
                                            )
        Plaintiff,                          )
                                            )
  v.                                        )   CIVIL NO. 1:07-CV-960-CMH-JFA
                                            )
  NELNET, INC., et al.,                     )
                                            )
        Defendants.                         )
  __________________________________________)


      DECLARATION OF LINA SONI IN SUPPORT OF RELATOR’S OPPOSITION
           TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
Case 1:07-cv-00960-CMH-JFA Document 409 Filed 07/12/10 Page 2 of 22 PageID# 9350




           I, Lina Soni, declare as follows:

           1.     I am an associate with the law firm of Wiley Rein LLP, counsel to the Relator in

  these proceedings. I am a member of the bar of this court and I offer this declaration in support

  of Relator’s Opposition to Defendants’ Motions for Summary Judgment.


           2.     Attached hereto are true and correct copies of excerpts of transcripts of deposition

  testimony provided by current and former employees and consultants of the Defendants, and

  current and former employees of the Department of Education during discovery in the above

  captioned matter:


   Ex. No.                                          Description

       1         Excerpts of Deposition Transcript of Larry Buckmeier

       2         Excerpts of Deposition Transcript of A. Norgrin Sanderson

       3         Excerpts of Deposition Transcript of Steve J. Kohles

       4         Excerpts of Deposition Transcript of Terry Joe Heimes

       5         Excerpts of Deposition Transcript of Michael S. Dunlap

       6         Excerpts of Deposition Transcript of Daniel F. Kaplan

       7         Excerpts of Deposition Transcript of James Parker, Vol. I

       8         Excerpts of Deposition Transcript of John Amos Wright, II

       9         Excerpts of Deposition Transcript of Ricky L. Turman

      10         Excerpts of Deposition Transcript of Murray Watson, Jr.

      11         Excerpts of Deposition Transcript of Michael S. Chesin

      12         Excerpts of Deposition Transcript of Vincent Roig

      13         Excerpts of Deposition Transcript of Lisa Renee Jacobson

      14         Excerpts of Deposition Transcript of Richard J. Chapin



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   Ex. No.                                         Description

      15        Excerpts of Deposition Transcript of Carol Rakatansky

      16        Excerpts of Deposition Transcript of Jason Wheeler

      17        Excerpts of Deposition Transcript of Richard Nickel

      18        Excerpts of Deposition Transcript of Saul L. Moskowitz

      19        Excerpts of Deposition Transcript of John Dean

      20        Excerpts of Deposition Transcript of Terri Shaw

      21        Excerpts of Deposition Transcript of Sally Stroup

      22        Excerpts of Deposition Transcript of Kristie Hansen

      23        Excerpts of Deposition Transcript of Jerry Wallace

      24        Excerpts of Deposition Transcript of Clifford Boyd Baker

      25        Excerpts of Deposition Transcript of Glenn Parker

      26        Excerpts of Deposition Transcript of Richard Criswell

      27        Excerpts of Deposition Transcript of Patricia Trubia

      28        Excerpts of Deposition Transcript of Benjamin F. McPherson

      29        Excerpts of Deposition Transcript of Sheila Ryan-Macie

      30        Excerpts of Deposition Transcript of Jason H. P. Kravitt

      31        Excerpts of Deposition Transcript of James Parker, Vol. II

      32        Excerpts of Deposition Transcript of Jon H. Oberg

      33        Excerpts of Deposition Transcript of Jane LaRocca Roig

           3.    Attached hereto are true and correct copies of documents produced by the United

  States Department of Education during discovery in the above captioned matter:




                                                  3
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  Ex. No.                                         Description

               June 24, 2004 Email from Pamela Moran “RE: Nelnet LaRS reporting” (Bates Nos.
     34
               ED-B-002658-669)

               May 24, 2005 Email from George Harris “RE: 9.5% Floor Question – Further
     35
               Documentation” (Bates Nos. ED-B-003930-932)

               October 13, 2006 Email from James Manning “Re: talking points” (Bates Nos. ED-
     36
               F-001260-1261)

               November 18, 2004 Letter from Rod Paige to Senator Edward Kennedy (Bates Nos.
     37
               ED-G-000858-859)
               November 1993 Dear Colleague Letter (Bates Nos. ED-B-004277-293)
     38

               January 18, 2007 Email from Terri Shaw “Re: nelnet q’s” (Bates Nos. ED-F-
     39
               000952-959)

               March 14, 1994 Letter to Lawrence W. O’Toole from Leo Kornfeld (Bates Nos.
     40
               ED-B-001226-227)

     41        Undated charts re: FY2005 (Bates Nos. ED-B-001769-770)

     42        November 24, 1993 Letter from Pamela Moran to David Reicher (ED-B-001228)

                February 23, 2007 Email from Samara Yudof to Margaret Spellings et al. re:
               “Colleges: Too Close to Lenders? Regulators are looking at how schools steer
     43
               families to favored creditors (BusinessWeek Online) (Bates Nos. ED-E-000954-
               955)

               December 13, 2006 Email from Nelnet’s Counsel Tom Goldstein to Ruth Jacobsen
     44
               (Bates Nos. ED-A-003402-404)

               January 18, 2007 Email from Nelnet’s Counsel Tom Goldstein to Kent Talbert
     45
               (Bates No. ED-A-003406)

     46        Draft Settlement Agreement (Bates Nos. ED-A-003379-389)

               November 3, 2006 Email from David Dunn to Kristin Conklin re: “Ed-Draft Audit
     47        Reports Financial Statement Audits for Fiscal Years 2006 and 2005 (Bates Nos.
               ED-D-000578-581)

          4.      Attached hereto are true and correct copies of documents obtained from public

  sources:



                                                  4
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  Ex. No.                                           Description

                Brief for the United States as Amicus Curiae, United States ex rel. K&R Ltd. P’ship
     48
                v. Massachusetts Hous. Fin. Agency, No. 07-7014 (D.C. Cir. 2006)

                March 1980 Congressional Budget Office Background Paper entitled “State Profits
     49         on Tax-Exempt Student Loan Bonds: Analysis and Options” (Exhibit A to Review
                Doc)

     50         2008 OIG Audit (A09H0015)

           5.      Attached hereto are true and correct copies of certain exhibits referenced in the

  above listed depositions taken in the above captioned matter:


   Ex. No.                                           Description

                 Clifford Boyd Baker Deposition Ex. 29 (November 15, 2002 Email from John
                 Wright “Floor Bonds” (with attached tables) – “Consolidations”, “9.5% Floor,” &
      51
                 “9.5% Floor Loans”; Bates Nos. PPHEA_045867-870) HIGHLY
                 CONFIDENTIAL (FILED UNDER SEAL)

                 Clifford Boyd Baker Ex. 32 (150(d) Conversion; at PPHEA_045537) HIGHLY
      52
                 CONFIDENTIAL (FILED UNDER SEAL)

                 John Dean Deposition Ex. 18 (October 3, 2003 Memorandum from John Dean to
      53
                 David Dunn et al.)

                 Michael S. Dunlap Deposition Ex. 47 (January 5, 2003 Email from Paul Tone
      54         “9.5% Floor”; Bates Nos. N0124998-999) CONFIDENTIAL (FILED UNDER
                 SEAL)

                 Michael S. Dunlap Deposition Ex. 50 (April 23, 2003 Memorandum from Gary
      55         Schleuger to File; Bates Nos. N0002187-188) CONFIDENTIAL (FILED
                 UNDER SEAL)

                 Michael S. Dunlap Deposition Ex. 52 (Email from Mike Dunlap to Ken Posner re:
      56         “FW: Sally Stroup Comments on Half SAP/9.5 Percent Loans”; Bates No.
                 N0000318)

                 Michael S. Dunlap Deposition Ex. 53 (April 5, 2004 Email from Mike Dunlap
      57         “Proposal/Concept; Value Maximization Using Tax-exempt Obligations” (with
                 attached document) - “White paper on tagging”; Bates Nos. N0000408-410)




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   Ex. No.                                     Description

             Michael S. Dunlap Deposition Ex. 55 (July 1, 2004 Email from Terry Heimes
     58      “FW: 9.5% release – urgent review needed”; Bates Nos. N0001137-139)
             CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 3 (December 20, 2002 Email from Ed Martinez
     59      “RE: 9.5 floor loans from te to taxable”; Bates Nos. N0120999-1000)
             CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 5 (January 8, 2003 Email from Ed Martinez to
             Jeff Noordhoek, Paul Tone, Don Bouc, Gary Schleuger and Mike Dunlap re:
     60
             “9.5% Floor Opinion”; Bates No. N0125008) CONFIDENTIAL (FILED
             UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 12. (February 13, 2003 Email from Dana Scott
     61      to Carol Aversman and Jim Kruger re: “Sheep Dipping Strategy”; Bates No.
             N0102843) CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 15 (March 5, 2003 Email from Jeff Noordhoek
     62      “memo/letter to Christie Hanson”; Bates No. N0118352) CONFIDENTIAL
             (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 17 (April 16, 2003 Email from Dana Scott to
     63      Jim Kruger re: “9 ½ Floor Transfers”; Bates No. N0119109) CONFIDENTIAL
             (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 21 (Draft letter to Blank; Bates Nos. N0001457-
     64
             459) CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 22 (“Projected Additional Earnings from
     65      “Tagging” Project”; Bates No. N0097043) CONFIDENTIAL (FILED UNDER
             SEAL)

             Terry Joe Heimes Deposition Ex. 23 (“Nelnet Project 950” tables; Bates Nos.
     66
             N0015607-610) CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 25 (“Amended Escrow Agreement”; Bates Nos.
     67
             N0029642-647) CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 27 (March 6, 2003 Email from Jeff Noordhoek
     68      “RE: Re: 9.5% Floor”; Bates Nos. N0125034-035) CONFIDENTIAL (FILED
             UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 28 (March 5, 2003 Email from Jeff Noordhoek
     69      “RE: Re” 9.5% Floor”; Bates Nos. N0125030-031) CONFIDENTIAL (FILED
             UNDER SEAL)


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   Ex. No.                                    Description

             Terry Joe Heimes Deposition Ex. 30 (May 22, 2003 Email from Gary Schleuger
     70
             “RE: 799 Bill Statement letter to DOE”; Bates Nos. N0000074-075)

             Terry Joe Heimes Deposition Ex. 31 (May 29, 2003 Letter from Terry Heimes to
     71
             Angela Roca-Baker; Bates Nos. N0003047-050)

             Terry Joe Heimes Deposition Ex. 32 (Draft letter from Terry Heimes to Angela
     72      Roca-Baker; Bates Nos. N0001015-017) CONFIDENTIAL (FILED UNDER
             SEAL)

             Terry Joe Heimes Deposition Ex. 33 (February 14, 2003 Fax from Frank Miller to
             Elise Nowikowski (with attached February 6, 2003 letter from Elise
     73
             Nowikowski); Bates Nos. N0039677-678) (with attached February 6, 2003 letter
             from Elise Nowikowski) CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 34 (May 28, 2003 Email from Daniel Kaplan
     74      “DOE letter”; Bates Nos. N0001005-010) CONFIDENTIAL (FILED UNDER
             SEAL)

             Terry Joe Heimes Deposition Ex. 35 (May 29, 2003 Email from Mike Dunlap
     75      “RE: DOE letter and chart”; Bates No. N0001011) CONFIDENTIAL (FILED
             UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 36 (June 19, 2003 Email from Paul Tone “RE:
     76      Getting prepared for NELF”; Bates No. N0001028) CONFIDENTIAL (FILED
             UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 37 (“Communication plan for Nelnet’s use of
     77      the 9.5% floor”; Bates Nos. N0001025-027) CONFIDENTIAL (FILED
             UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 38 (November 16, 2004 Memorandum from
     78
             Terry Heimes to Ken Posner; Bates Nos. N0000336-337)

             Terry Joe Heimes Deposition Ex. 39 (May 25, 2004 Email from Mike Dunlap
     79
             “Re: NELNET request”; Bates Nos. N0000558-559)

             Terry Joe Heimes Deposition Ex. 43 (July 1, 2004 Email from Paul Tone “Re:
     80      9.5% release – urgent review needed”; Bates Nos. N0001194-195)
             CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 44 (July 2, 2004 Email from Daniel Kaplan
     81      “FW: Summary of Phone Conversation”; Bates Nos. N0001247-248)
             CONFIDENTIAL (FILED UNDER SEAL)



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   Ex. No.                                    Description

             Terry Joe Heimes Deposition Ex. 45 (July 2, 2004 Fax from Mike Sutphias to
     82      Mike Dunlap; Bates Nos. N0001250-251) CONFIDENTIAL (FILED UNDER
             SEAL)

             Daniel Kaplan Deposition Ex. 78 (“Escrow Reserve Agreement”; Bates Nos.
     83
             N0003033-040) CONFIDENTIAL (FILED UNDER SEAL)

             Daniel Kaplan Deposition Ex. 80 (July 1, 2004 Email from Daniel Kaplan “RE:
     84      9.5% release – urgent review needed”; Bates Nos. N0001144-145)
             CONFIDENTIAL (FILED UNDER SEAL)

             Saul L. Moskowitz Deposition Ex. 2 (November 24, 1993 Letter to David M.
     85      Reicher from Pamela M. Moran (attaching October 14, 1993 letter to Ralph
             Madden from David M. Reicher); Bates Nos. B9005808-811) CONFIDENTIAL

             Saul L. Moskowitz Deposition Ex. 8 (November 16, 2003 Email from Saul
     86      Moskowitz re: “Draft Floor Opinion”; Bates Nos. B0005437-443)
             CONFIDENTIAL (FILED UNDER SEAL)

             Saul L. Moskowitz Deposition Ex. 13 (January 27, 2003 Letter from Saul
     87
             Moskowitz to Clifford Baker; Bates Nos. PPHEA_COUNSEL00000001-011)

             Saul L. Moskowitz Deposition Ex. 14 (November 1, 2002 Letter from Saul
     88      Moskowitz to Clifford Baker; Bates Nos. PPHEA_045883-888) HIGHLY
             CONFIDENTIAL (FILED UNDER SEAL)

             Saul L. Moskowitz Deposition Ex. 15 (June 24, 2003 Letter from Saul Moskowitz
     89
             to Clifford Baker; Bates Nos. PPHEA_COUNSEL00000012-022)

             Saul L. Moskowitz Deposition Ex. 16 (February 4, 2004 Letter from Saul
     90
             Moskowitz to Clifford Baker; Bates Nos. PPHEA_COUNSEL00000023-034)

             A. Norgrin Sanderson Deposition Ex. 1 (April 21, 2003 Fax from Larry O’Toole
     91      to Norg Sanderson; Bates Nos. ELI-HC00000043-046) CONFIDENTIAL
             (FILED UNDER SEAL)

             A. Norgrin Sanderson Deposition Ex. 2 (August 4, 2003 Letter from Lawrence
     92      O’Toole to Norg Sanderson; Bates Nos. ELI-HC00000176-177)
             CONFIDENTIAL (FILED UNDER SEAL)

             A. Norgrin Sanderson Deposition Ex. 3 (Memorandum on Indenture Planning and
     93      Special Allowance Management (“Aurora Memo”); Bates Nos. ELI-
             HC00000178-230) CONFIDENTIAL (FILED UNDER SEAL)




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   Ex. No.                                    Description

             A. Norgrin Sanderson Deposition Ex. 4 (August 6, 2003 Memorandum from Norg
             Sanderson to Compensation Committee re: “Aurora Consulting Group
     94
             Memorandum on Indenture Planning and Special Allowance Management” (Bates
             No. ELI-HC00000175) CONFIDENTIAL (FILED UNDER SEAL)

             Sanderson Deposition Ex. 6 (Undated document entitled “Minutes of the Board of
     95      Directors Meeting of Student Loan Finance Corporation” Bates Nos.
             ELI00010973-975) CONFIDENTIAL (FILED UNDER SEAL)

             Ricky L. Turman Deposition Ex. 22 (November 15, 2002 Email from Saul
     96      Moskowitz “RE: Loan swapping”; Bates Nos. B9007778-779) CONFIDENTIAL
             (FILED UNDER SEAL)

             Ricky L. Turman Deposition Ex. 26 (November 6, 2003 Email from Ricky
     97      Turman “RE: Tax Exempt Loan Swapping”; Bates Nos. B0246473-474)
             CONFIDENTIAL (FILED UNDER SEAL)

             Ricky L. Turman Deposition Ex. 32 (Handwritten notes and July 16, 2004 Email
     98      from Adele Williams “FW: letterhead”; Bates Nos. B9000512-515)
             CONFIDENTIAL (FILED UNDER SEAL)

             John Amos Wright, II Deposition Ex. 35 (Handwritten note; Bates No.
     99
             PPHEA_045871) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

             Terry Joe Heimes Deposition Ex. 5 (January 8, 2003 Email from Ed Martinez
     100     “RE: 9.5% Floor Opinion; Bates No. N0125008) CONFIDENTIAL (FILED
             UNDER SEAL)

             Michael S. Dunlap Deposition Ex. 56 (July 5, 2004 Email from Mike Dunlap “Re:
     101     Press Release”; Bates No. N0001260) CONFIDENTIAL (FILED UNDER
             SEAL)

             Michael S. Dunlap Deposition Ex. 57 (September 10, 2004 Letter from Don Bouc
     102     to Merecedes Zajicek; Bates Nos. N0002116-117) CONFIDENTIAL (FILED
             UNDER SEAL)

             Ricky L. Turman Deposition Ex. 25 (November 4, 2003 Email from Saul
     103     Moskowitz “RE: Loan Swapping Opinion…”; Bates Nos. B0270003-005)
             CONFIDENTIAL (FILED UNDER SEAL)

             Ricky L. Turman Deposition Ex. 29 (2003 Draft letter from Saul Moskowitz “Re:
     104     Request for Opinion”; Bates Nos. B0005438-443) CONFIDENTIAL (FILED
             UNDER SEAL)




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    Ex. No.                                    Description

              Ricky L. Turman Deposition Ex. 30 (December 4, 2003 Email from Ricky
     105      Turman “RE: affiliate question”; Bates No. B0270286) CONFIDENTIAL
              (FILED UNDER SEAL)

              Ricky L. Turman Deposition Ex. 33 (December 30, 2003 Email from Ricky
     106      Turman “RE: Maturity of T-E Bonds”; Bates No. B0270421) CONFIDENTIAL
              (FILED UNDER SEAL)

              Adele Williams Deposition Ex. 6 (November 3, 2003 Email from Adele Williams
              to Saul Moskowitz and Ricky Turman re: “Loan Swapping Opinion…” (with
     107
              attachments); Bates Nos. B027006-011) CONFIDENTIAL (FILED UNDER
              SEAL)

              Jerry Wallace Deposition Ex. 2 (Iowa Program Review and Related
     108
              Communications; Bates Nos. ISLLC-000001-063)

              Jerry Wallace Deposition Ex. 19 (September 1, 2004 Email from Ben McPherson
     109      to Mike Sutphin, Mirek Halaska, Jerry Wallace, and Mercedes Zajicek re: “Nelnet
              recognizes income on pre-1993 9.5% loan “growth”)

              Terri Shaw Deposition Ex. 26 (August 9, 2006 Email from Elizabeth Williams to
     110      Scott Walter et al. re: “READ AHEAD: Deputies Meeting: National Education
              Loan Network” (with attachments); Bates Nos. ED-F-000140-ED-F-143)

              Terri Shaw Deposition Ex. 49 (September 2006 OIG Audit Report; Bates Nos.
     111
              OBERG00000063-113)

              Oberg Deposition Exs. 2, 57, 62 (Relator’s Responses to Nelnet, PPHEA, and
     112
              Brazos Interrogatories 1.)

              Saul L. Moskowitz Deposition Ex. 16 (February 4, 2004 Letter from Saul
     113      Moskowitz to Clifford Baker re: “Request for Opinion”; Bates Nos.
              PPHEA_COUNSEL00000023-034)

              Saul L. Moskowitz Deposition Ex. 5 (September 30, 1993 Handwritten Notes;
     114
              Bates Nos. B9000508-509) CONFIDENTIAL (FILED UNDER SEAL)

              Saul L. Moskowitz Deposition Ex. 9 (January 8, 2004 Fax from Saul Moskowitz
              from Murray Watson, Keeli Villarreal, and Ricky Turman “Re: Request for
     115
              Opinion”; Bates Nos. B9005756-768) CONFIDENTIAL (FILED UNDER
              SEAL)

              Saul L. Moskowitz Deposition Ex. 1 (October 10, 2001 Email from Saul
     116      Moskowitz “RE” Tax-exempt bond issues”; Bates Nos. MOSKOWITZ_000095-
              099) CONFIDENTIAL (FILED UNDER SEAL)


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    Ex. No.                                    Description

              Saul L. Moskowitz Deposition Ex. 6 (January 20, 2003 Email from Ricky Turman
     117      “RE: more questions”; Bates Nos. B9007795-797) CONFIDENTIAL (FILED
              UNDER SEAL)

              Richard Criswell Deposition Ex. 14 (June 26, 2006 Letter from Richard Criswell
     118      to Rick Lovell “Brazos Higher Education Authority” (with attachments); Bates
              Nos. B0004934-943) CONFIDENTIAL (FILED UNDER SEAL)

              Benjamin McPherson Deposition Ex. 10 (March 4, 2005 Letter from Merecedes
     119
              Zajicek to Michael Dunlap; Bates Nos. ED-B-004648-681)

              John Dean Deposition Ex. 2 (August 14, 2002 “Lobbying Report” for Nelnet,
     120
              Inc.)

              John Dean Deposition Ex. 8 (January 20, 2003 Letter from John Dean to Mike
     121
              Dunalp re: “Request for Opinion”; Bates Nos. JED214-218)

              John Dean Deposition Ex. 9 (March 4, 2003 Letter from John Dean to Michael
     122      Dunlap “Re: Request for Opinion”; Bates Nos. N0127090-094)
              CONFIDENTIAL (FILED UNDER SEAL)

              John Dean Deposition Ex. 14 (January 30, 2004 Letter from John Dean to Michael
     123      Dunlap “Re: Request for Opinion”; Bates Nos. N0017677-690)
              CONFIDENTIAL (FILED UNDER SEAL)

              John Dean Deposition Ex. 12 (July 7, 2003 Letter from John Dean to Michael
     124      Dunlap “Re: Request for Opinion”; Bates Nos. N0002667-673)
              CONFIDENTIAL (FILED UNDER SEAL)

              John Dean Deposition Ex. 16 (“Chronological History of 9.5% Loan Issue”; Bates
     125
              Nos. N0132944-946) CONFIDENTIAL (FILED UNDER SEAL)

              Clifford Baker Deposition Ex. 31 (November 25, 2002 Handwritten Notes; Bates
     126
              No. PPHEA_045877) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

              J. Parker Deposition Ex. 3 (Panhandle-Plains Higher Education Authority Audited
     127
              Financial Statements Year End 2003; Bates Nos. PPHEA_045343-373)

              Patricia Trubia Deposition Ex. 7 (Spellings Responses to Congressional
     128      Questioning following her May 10, 2007 hearing testimony; Bates Nos. Ed-E-
              000001-030)

              Patricia Trubia Deposition Ex. 9 (Nelnet Settlement Agreement; Bates Nos. ED-
     129
              A-003533-542)



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    Ex. No.                                    Description

              Carol Rakatansky Deposition Ex. 3 (“Attachment A-Signature Authorization
     130      Policy Approval and Authorization Requirements”; Bates Nos.
              SLMA_P0027861-864) CONFIDENTIAL (FILED UNDER SEAL)

              Carol Rakatansky Deposition Ex. 4 (“Attachment B-SLM Corporation and
     131      Subsidies Signature Authority Approval Matrix”; Bates Nos. SLMA_P0027865-
              871) CONFIDENTIAL (FILED UNDER SEAL)

              Richard Nickel Deposition Ex. 11 (Letter from Southwest Student Services
     132
              Corporation to EasyPay)

     133      Richard Nickel Deposition Ex. 13 (July 8, 2004 Project Troy Update)

              Richard Nickel Deposition Ex. 20 (“Revolving Credit Agreement”; Bates Nos.
     134
              SLMA_P0002852-859) CONFIDENTIAL (FILED UNDER SEAL)

              Richard Nickel Deposition Ex. 5 (June 8, 2005 Memorandum from Finance
     135
              Division to Rich Nickel “Divisional Status/Critical Issues Report”)

              Richard Nickel Deposition Ex. 7 (June 22, 2005 Memorandum from Finance
     136
              Division to Rich Nickel “Divisional Status/Critical Issues Report”)

              Jason Wheeler Deposition Ex. 19 (August 4, 2004 “Preliminary Memorandum of
     137      Terms and Conditions for Project Troy”; Bates Nos. SLMA_P0000652-055)
              CONFIDENTIAL (FILED UNDER SEAL)

              Jason Wheeler Deposition Ex. 20 (“Revolving Credit Agreement”; Bates Nos.
     138
              SLMA_P0002852-859) CONFIDENTIAL (FILED UNDER SEAL)

              Richard J. Chapin Deposition Ex. 12 (October 25, 2004 “Executive
     139
              Orientation/Introduction-Finance”; Bates No. SLMA_EF00000174)

     140      John Dean Deposition Ex. 1 (August 27, 2002 “Lobbying Report”)

     141      John Dean Deposition Ex. 2 (August 27, 2002 “Lobbying Report”)

              Jane Roig Deposition Ex. 2 (Undated letter to Vincent Roig from Martha Shine
     142      enclosing document entitled “Southwest Student Services Corporation Review
              Report”; Bates Nos. SLMA_P0027353-367) CONFIDENTIAL

              Michael Chesin Deposition Ex. 11 (U.S. Department of Education Federal Family
     143      Loan Program Lender’s Interest and Special Allowance Request and Report Form
              (AELMAC); SLMA_P0007741-750)




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    Ex. No.                                      Description

               Lisa Renee Jacobson Deposition Ex. 6 (June 13, 2005 Email from Lisa Jacobson
     144       re: “Replacement of Potential loss of 9.5% floor sap with Taxable Sap”; Bates
               Nos. SLMA_P0004356-357) CONFIDENTIAL (FILED UNDER SEAL)

               Lisa Renee Jacobson Deposition Ex. 13 (Undated document entitled “Southwest
               Student Services Corporation, Arizona Educational Loan Marketing Corporation
     145
               & Florida Educational Loan Marketing Corporation – Meeting Minutes (July 31,
               2003 Finance Quarterly Division Meeting)”; Bates No. SLMA_EF00000700)

               Kristie Hansen Deposition Ex. 19 (September 12, 2003 Memorandum from
               Kristie Hansen to Sandra Holding-Hinton, OIG re “Inspector General Hotline
     146
               Complaint- Special Allowance Payments ED/01990-02”; Bates No.
               OBERG00005999)

               Jon H. Oberg Deposition Ex. 15 (November 22, 2004 Email from Jon Oberg to
     147
               Helen Lew re: “Ongoing OIG Audit”; Bates Nos. OBERG00004976-984)

         6.     Attached hereto are true and correct copies of certain documents produced by

  Defendants Education Loans, Inc. and Student Loan Finance Corporation during discovery in the

  above captioned matter:


    Ex. No.                                      Description

     148       Edlinc Response to Relator’s Interrogatory No. 20

         7.     Attached hereto are true and correct copies of certain documents produced by

  Defendants Brazos Higher Education Service Corporation and Brazos Higher Education

  Authority during discovery in the above captioned matter:


    Ex. No.                                      Description

               November 3, 2004 Email from Saul Moskowitz “FW: Floor Bill” (Bates No.
     149
               B0004972) CONFIDENTIAL (FILED UNDER SEAL)

               October 19, 2004 Email from Saul Moskowitz “RE: Final Floor Bill Language
     150       and Matured Bonds” (Bates Nos. B0005209-210) CONFIDENTIAL (FILED
               UNDER SEAL)


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    Ex. No.                                     Description

               January 8, 2004 Fax from Saul Moskowitz to Murray Watson, Kelli Villarreal
     151
               and Ricky Turman (Bates Nos. B9005756-768)

               October 19, 2004 Email from Saul Moskowitz “RE: Final Floor Bill Language
     152       and Matured Bonds” (Bates Nos. B0005209-210) CONFIDENTIAL (FILED
               UNDER SEAL)

               November 3, 2004 Email from Saul Moskowitz “FW: Floor Bill” (Bates No.
     153
               B0004972) CONFIDENTIAL (FILED UNDER SEAL)

               August 9, 2006 Federal Student Aid Programs; Final Rule, 71 Fed. Reg. 45666
     154
               (Bates Nos. B0270230-282) CONFIDENTIAL (FILED UNDER SEAL)

               November 4, 2003 Email from Saul Moskowitz to Adele Williams and Ricky
     155       Turman re: “Loan Swapping Opinion…” (Bates Nos. B027003-011)
               CONFIDENTIAL (FILED UNDER SEAL)


         8.     Attached hereto are true and correct copies of certain documents produced by

  Defendants Panhandle-Plains Management and Servicing Company and Panhandle-Plains

  Higher Education Authority during discovery in the above captioned matter:


    Ex. No.                                     Description

     156       INTENTIONALLY OMITTED

               June 5, 2008 Letter from Jerry Wallace to Terry Langehenning (with attached
     157
               Program Review Report) (Bates Nos. PPHEA_000023-031)

               December 17, 2002 Board of Directors Regular Meeting Minutes (Bates Nos.
     158
               PPHEA_029472-475) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

               Moskowitz Deposition Ex. 12 (Handwritten note; Bates Nos. PPHEA_045871-
     159
               872) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

               November 15, 2002 Email from John Wright “Floor Bonds” (Bates Nos.
     160
               PPHEA_045867-870) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

               March 19, 2003 Email from Kathleen Ellison “Questions on Applicability of
     161       Half Sap/Floor” (Bates No. PPHEA_045899) HIGHLY CONFIDENTIAL
               (FILED UNDER SEAL)


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    Ex. No.                                     Description

               November 1, 2002 Letter from Saul Moskowitz to Clifford Baker (Bates Nos.
     162
               PPHEA_045883-888) HIGHLY CONFIDENTIAL (FILED UNDER SEAL)

               January 27, 2003 Letter from Saul Moskowitz to Clifford Baker (Bates Nos.
     163
               PPHEA_COUNSEL00000001-011)

               June 24, 2003 Letter from Saul Moskowitz to Clifford Baker (Bates Nos.
     164
               PPHEA_COUNSEL00000012-022)

               February 4, 2004 Letter from Saul Moskowitz to Clifford Baker (Bates Nos.
     165
               PPHEA_COUNSEL00000023-034)

               October 30, 2007 Letter from Richard Blankenship to U.S. Department of
               Education (with attached) “Management’s Assertions,” “Bond Worksheet,”
     166
               “Engagement Letter,” “Audit Report,” “Auditor’s Certifications,” and “Lender’s
               Response to Audit Report” (Bates Nos. PPHEA_000885-899)

               February 3, 2004 Email from Saul Moskowitz to John Wright re: “9.5% Floor
     167       Opinion (Bates Nos. PPHEA_045924-925) HIGHLY CONFIDENTIAL
               (FILED UNDER SEAL)

         9.     Attached hereto are true and correct copies of certain documents produced by

  Defendants Southwest Student Services Corporation and SLM Corporation during discovery in

  the above captioned matter:


    Ex. No.                                     Description

               July 8, 2004 Project Troy Update (Bates Nos. SLMA_EF00000163-170)
     168
               CONFIDENTIAL (FILED UNDER SEAL)

               July 6, 2004 Project Troy Update (Bates Nos. SLMA_EF00000249-258)
     169
               CONFIDENTIAL (FILED UNDER SEAL)

               June 8, 2005 Interoffice Memorandum from Finance Division to Rich Nickel
     170
               (Bates No. SLMA_EF00001234) CONFIDENTIAL (FILED UNDER SEAL)

               June 22, 2005 Interoffice Memorandum from Finance Division to Rich Nickel
     171
               (Bates No. SLMA_EF00001235) CONFIDENTIAL (FILED UNDER SEAL)

               Completed Lender’s Interest and Special Allowance Request and Report (Form
     172
               799) (Bates Nos. SLMA_P0007741-750)


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    Ex. No.                                     Description

               Attachment A- Signature Authorization Policy Approval and Authorization
     173       Requirements (Bates Nos. SLMA_P0027861-864) CONFIDENTIAL (FILED
               UNDER SEAL)

               Attachment B- SLM Corporation and Subsidiaries Signature Authority Approval
     174       Matrix (Bates Nos. SLMA_P0027865-871) CONFIDENTIAL (FILED
               UNDER SEAL)

               “Revolving Credit Agreement” (Bates Nos. SLMA_P0002852-859)
     175
               CONFIDENTIAL (FILED UNDER SEAL)


         10.    Attached hereto are true and correct copies of certain documents produced by

  Defendants Nelnet, Inc., and Nelnet Education Loan Funding, Inc. during discovery in the above

  captioned matter:


    Ex. No.                                     Description

               May 22, 2003 Email from Gary Schleuger “RE: 799 Bill Statement letter to
     176
               DOE” (Bates Nos. N0000074-075)

               November 16, 2004 Memorandum from Terry Heimes to Ken Posner (Bates
     177
               Nos. N0000336-337)

               April 5, 2004 Email from Mike Dunlap “Proposal/Concept: Value Maximization
     178
               Using Tax-exempt Obligations” (Bates Nos. N0000408-410)

               May 28, 2003 Email from Daniel Kaplan “DOE letter” (Bates Nos. N0001005-
     179
               010) CONFIDENTIAL (FILED UNDER SEAL)

               May 29, 2003 Email from Mike Dunlap “RE: DOE letter and chart” (Bates No.
     180
               N0001011) CONFIDENTIAL (FILED UNDER SEAL)

               Draft letter from Terry Heimes “Re: LaRS Billing Statement Confirmation”
     181
               (Bates Nos. N0001015-017) CONFIDENTIAL (FILED UNDER SEAL)

               January 5, 2003 Email from Paul Tone “RE: 9.5% Floor” (Bates Nos.
     182
               N0002360-366) CONFIDENTIAL (FILED UNDER SEAL)

               May 29, 2003 Letter from Terry Heimes “Re: LaRS Billing Statement
     183
               Confirmation” (Bates Nos. N0003047-049)


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    Ex. No.                                   Description

              March 14, 2003 Email from J. Noordhoek to Cheryl Watson et al. re: “Mike D.
     184      Reauth Priority” (Bates Nos. N0118987-989) CONFIDENTIAL (FILED
              UNDER SEAL)

              February 14, 2003 Fax (with attached February 6, 2003 letter from Elise
     185      Nowikowski) from Frank Miller (Bates Nos. N0039677-678) CONFIDENTIAL
              (FILED UNDER SEAL)

              February 13, 2003 Email from Dana Scott “RE: Sheep Dipping Strategy” (Bates
     186
              No. N0102843) CONFIDENTIAL (FILED UNDER SEAL)

              “White Paper” (Bates Nos. N0117977-979) CONFIDENTIAL (FILED
     187
              UNDER SEAL)

              March 5, 2003 Email from Jeff Noordhoek “memo/letter to Christie Hanson”
     188
              (Bates No. N0118352) CONFIDENTIAL (FILED UNDER SEAL)

              March 14, 2003 Email from Jeff Noordhoek “RE: Mike D Reauth Priority”
     189
              (Bates Nos. N0118987-989) CONFIDENTIAL (FILED UNDER SEAL)

              April 16, 2003 Email from Dana Scott “9 ½ Floor Transfers” (Bates No.
     190
              N0119109) CONFIDENTIAL (FILED UNDER SEAL)

              April 22, 2003 Email from Jeff Noordhoek “memo to file” (Bates No.
     191
              N0119122) CONFIDENTIAL (FILED UNDER SEAL)

              January 5, 2003 Email from Paul Tone “9.5% Floor” (Bates Nos. N0124998-
     192
              999) CONFIDENTIAL (FILED UNDER SEAL)

              January 8, 2003 Email from Ed Martinez “RE: 9.5% Floor Opinion” (Bates No.
     193
              N0125008) CONFIDENTIAL (FILED UNDER SEAL)

              February 2, 2003 Email from Ed Martinez “9.5% Floor Opinion” (Bates No.
     194
              N0125018) CONFIDENTIAL (FILED UNDER SEAL)

              March 5, 2003 Email from Jeff Noordhoek “RE: Re: 9.5% Floor” (Bates Nos.
     195
              N0125030-031) CONFIDENTIAL (FILED UNDER SEAL)

              March 6, 2003 Email from Jeff Noordhoek “RE: Re: 9.5% Floor” (Bates Nos.
     196
              N0125034-035) CONFIDENTIAL (FILED UNDER SEAL)

              January 13, 2003 Email from Ed Martinez “FW: DRAFT Opinion” (Bates No.
     197
              N0125331) CONFIDENTIAL (FILED UNDER SEAL)




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    Ex. No.                                     Description

               January 27, 2003 Email from Kerrie Olsen “FW: Legal Opinion” (Bates No.
     198
               N0125789) CONFIDENTIAL (FILED UNDER SEAL)

               September 2006 “Final Audit Report” (Bates Nos. N0016967-036)
     199
               CONFIDENTIAL (FILED UNDER SEAL)

               December 13, 2002 Email from Mike Pohl to Dave Bottegal re “Fwd: money”
     200
               (Bates Nos. N0134075-076) CONFIDENTIAL (FILED UNDER SEAL)


         11.    Attached hereto are true and correct copies of certain documents produced by

  Relator Dr. John H. Oberg during discovery in the above captioned matter:


    Ex. No.                                     Description

     201       *Notes regarding 9.5 student loan scandal (Bates Nos. OBERG00002757-759)

               October 8, 2003 Memorandum from Adam Stoll to Michael Dannenberg (Bates
     202
               Nos. OBERG00005993-998)

               October 28, 2004 Email from Daniel Pollard “RE: Annual FSA all hands
     203
               meeting” (Bates No. OBERG00007491)

               May 25, 2004 Email from Pamela Moran “RE: Nelnet LaRS reporting” (Bates
     204
               No. OBERG00007694)

               May 14, 2004 Email from Jon Oberg to Robert Rudolph re: “9.5% percent
     205
               special allowance payments” (Bates No. OBERG00008723)

     206       FitchRatings-Structured Finance, Nelnet (Bates Nos. OBERG00007683-689)

               Fitch: Nelnet U.S. SLABS Ratings Currently Unaffected by 9.5% Loan Audit
     207
               (Bates Nos. OBERG00010145-146)

     208       September 2006 “Final Audit Report” (Bates Nos.OBERG00001018-087)

               November 25, 2003 Fax from D. Blad to Philip Link re: “Notification Letter”
     209       (attaching November 25, 2003 letter from Cynthia M. Fagnoni to Philip S. Link)
               (Bates Nos. OBERG00006114-115)




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         12.           Attached hereto are true and correct copies of certain documents produced

  by Relator John E. Dean during discovery in the above captioned matter:


    Ex. No.                                     Description

               February 12, 2004 Letter to Ed Martinez from John Dean (Bates Nos. JED172-
     210
               173)

     211       June 3, 2004 Letter to Ed Martinez from John Dean (Bates Nos. JED166-167)




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 12th day of July, 2010, a true and correct copy of the
  foregoing was electronically filed with the Clerk of Court using the CM/ECF system, which will
  then send a notification of such filing (NEF) to the following:

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                                                  Corporation

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  Service Corporation and Nelnet, Inc.            Corporation, Brazos Higher Education
                                                  Authority, Nelnet, Inc., and Nelnet Education
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  Student Loan Corporation
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  John Stone West, Esq.
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